Troutman Law Firm PC
5075 SW Griffith Dr., Suite 220
Beaverton, OR 97005
(503) 292-6788
(503) 596-2371 fax
Ted A. Troutman, OSB #844470


                    IN THE UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF OREGON



In re:                                             Case No. 19-31320-dwh13

MICHAEL KENNAN DAVISON &                           NOTICE OF INTENT TO BORROW
NOKE DAVISON,                                      $60,000 AND SECURE LOAN WITH
                                                   DEBTORS INTEREST IN THEIR HOME
                                  Debtor(s).




         PLEASE TAKE NOTICE that Debtors intend to borrow an additional $60,000

against their home pursuant to the terms of the attached Note and Trust Deed. The Court

has already approved the interim loan of $40,000. The funds are necessary to provide

working capital for Debtors business.

                   YOU ARE NOTIFIED that unless within 21 days, plus 3 days
mailing time, of the date of this notice you file a written objection to it, and set forth
the specific grounds for such objection and your relation to the case, with the Clerk
of the Court at 1050 SW Sixth Avenue, 7th Floor, Portland OR 97204 and mail a copy
to Debtor’s attorney Ted A. Troutman, 5075 SW Griffith Drive, Suite 220, Beaverton
OR 97005, the undersigned will proceed to take the proposed action or apply for a
court order if required, without further notice or hearing.


                 Dated this 6th day of September, 2019.

                                          /s/ Ted A. Troutman


                                          Ted A. Troutman, OSB #844470
                                          Attorney for Debtors


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Loan



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                   IN THE UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF OREGON



In re:                                             Case No. 19-31320-dwh13

MICHAEL KENNAN DAVISON &                           CERTIFICATE OF SERVICE
NOKE DAVISON,

                                Debtor(s).



I, Lisette Barajas, Declare as follow:

         I certify that on September 6, 2019, I served, by first class mail, a full and true
copy of the attached Notice of Intent to Borrow $60,000 and Secure Loan with Debtors
Interest in Their Home and Certificate of Service on the following by causing a copy
thereof to be placed in a sealed envelope, postage prepaid, addressed as shown below, in the
U.S. Mail at Beaverton, Oregon on the date indicated below:


                                 “See attached Service List”


                                         Dated: September 6, 2019

                                         /s/ Lisette Barajas
                                         Lisette Barajas, Legal Assistant to
                                         Ted A. Troutman




1|Page Certificate of Service
                                                                          Troutman Law Firm PC
                                                                    5075 SW Griffith Dr., Suite 220
                                                                            Beaverton, OR 97005
                                                                                    (503) 292-6788
                                                                               (503) 596-2371 fax

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                                                     SERVICE LIST
                                                      Via US Mail

                                                                                        Internal Revenue Service
Howard & Jeanie Bingham                   Washington County Tax Collector
                                                                                        Centralized Insolvency Solutions
15365 NW Troon                            155 N 1st Ave #130
                                                                                        PO Box 7346
Portland OR 97229                         Hillsboro, OR 97124
                                                                                        Philadelphia, PA 19101


                                          Discover Bank                                 U.S. Bank National Association
KeyBank N.A.
                                          Discover Products Inc                         Bankruptcy Department
4910 Tiedeman Rd.
                                          PO Box 3025                                   PO Box 108
Brooklyn, OH 44144
                                          New Albany, OH 43054-3025                     St. Louis MO 63166-0108


Wells Fargo Bank, N.A.                    Chase Bank USA, N.A.                         U.S. Bank National Association
Small Business Lending Division           c/o Robertson, Anschutz & Schneid, P.L.      Bankruptcy Department
P.O. Box 29482                            6409 Congress Avenue, Suite 100              PO Box 5229
Phoenix AZ 85038-8650                     Boca Raton, FL 33487                         Cincinnati, Ohio 45201-5229


American Express National Bank                                                          Wells Fargo Bank, N.A.
                                          Bank of America, N.A.
c/o Becket and Lee LLP                                                                  Wells Fargo Card Services
                                          P O Box 982284
PO Box 3001                                                                             PO Box 10438, MAC F8235-02F
                                          El Paso, TX 79998-2238
Malvern PA 19355-0701                                                                   Des Moines, IA 50306-0438


Pac-Fung Home Textiles He Shan Co. Ltd.   LVNV Funding, LLC                             Portfolio Recovery Associates, LLC
Brown & Joseph, LLC c/o Don Leviton       Resurgent Capital Services                    c/o Care Credit
PO Box 59838                              PO Box 10587                                  POB 41067
Schaumburg, IL 60159                      Greenville, SC 29603-0587                     Norfolk VA 23541


                                          Saharoj Textiles Co., Tt                      Saharoj Textile (1991) Co. LTD
Citibank, N.A.
                                          145,147 Soi Sukhmvit 62/1, Sukhumvit Rd       144, 144/1-6 M.8
701 East 60th Street North
                                          Bangchak, Prakanong, Bangkok 10260            Naiklongbangplakod Phrasam
Sioux Falls, SD 57117
                                          Thailand                                      Uthjedi Samutprakarn 10290


Michael & Noke Davison
1355 SW 84th Ave.
Portland OR 97225




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